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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    ) Cause No. 2:15-cr-72
                                              )
 JORGE ESQUEDA                                )
 LAZARO DELGADO-GONZALEZ,                     )
                                              )
                Defendants.                   )

                                      OPINION AND ORDER

        At the January 24, 2017 initial appearance, the government requested that the defendants,

 Jorge Esqueda and Lazaro Delgado-Gonzalez, be held without bond. A detention hearing was

 scheduled for February 2, 2017.

        At the detention hearing, the government proffered evidence without objection. First, it

 offered 7 photographs taken during a search of the Esqueda residence. The photographs depict

 Latin King gang paraphernalia. The government then indicated that if ATF Agent Jason Gore

 testified, he would relate the statements made by 8 co-defendants who are cooperating with the

 government. These cooperating defendants were identified by number and implicated both

 Esqueda and Delgado-Gonzalez in acts of violence as part of the gang activities. The

 cooperating defendants also stated that both defendants had leadership roles in the Latin Kings

 and participated in the sale of narcotics.

        After the government had concluded its proffer, the defendants requested any statements

 previously made by Agent Gore under Federal Rule of Criminal Procedure 26.2. In the

 subsequent discussion and the brief filed on February 9, 2017, the government indicated that

 Agent Gore had not made any statements summarizing his investigation. However, he had
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 participated in taking some of the proffers and had made substantially verbatim accounts of what

 these defendants had said. He also reviewed the verbatim accounts made by other federal agents

 who had taken the proffers from the remaining cooperating defendants. However, Agent Gore

 did not make any additional notes or summaries of what was contained in the statements taken

 by his fellow case agents.

        Probable cause and detention hearings are not intended to be a mini-trial on the merits of

 the case. They also are not to be used as a discovery device to circumvent the limited discovery

 provided for in Federal Rule of Criminal Procedure 16. It is common for the government to

 present its evidence by way of proffer. The defendant then has the opportunity to call the case

 agent for cross-examination. A defendant frequently proffers the testimony of a family member

 concerning the defendant’s ties to the community.

        Under Federal Rule of Evidence 1101(d), the normal rules of evidence do not apply at a

 probable cause or detention hearing. The government can call a case agent to summarize the

 investigation. The summary could include statements which technically are hearsay. A proffer

 is another method of introducing hearsay testimony which would be inadmissible at trial.

        In the instant case, the government proffered the testimony of Agent Gore. If Agent Gore

 had testified, he would have relied on some of the co-defendants statements he personally had

 made along with the statements made by other case agents who interviewed cooperating

 defendants without Agent Gore being present. The question now is what statements, if any, the

 defendants are entitled to see under Rule 26.2.

        The Jencks Act, 18 U.S.C. § 3500, has been adopted as Rule 26.2 which provides:

           After a witness other than the defendant has testified on direct examination,
           the court, on motion of a party who did not call the witness, must order an
           attorney for the government or the defendant and the defendant’s attorney to
           produce, for the examination and use of the moving party, any statement of

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           the witness that is in their possession and that relates to the subject matter of
           the witness’s testimony.

 See also Federal Rule of Evidence 612.

        The purpose behind Rule 26.2 and Rule 612 is to permit an adverse party to see any prior

 statements made by the witness and relied upon during direct examination. The prior statements

 may contain information which can be used for impeachment purposes during cross-

 examination. As previously stated, Agent Gore did not testify at the detention hearing, so there

 cannot be any prior inconsistent statements relating to his testimony. If the proffer was

 inaccurate, it was due to a misstatement by the government’s attorney and not Agent Gore. In

 other words, the statements requested by the defendants do not have the impeachment value

 contemplated by these rules. See generally United States v. Ortiz, 2013 WL 247226 (E.D. Pa.

 2013); United States v. Cabrera-Ortigoza, 196 F.R.D. 571, 575 (S.D. Cal. 2000).

        For the foregoing reasons, the defendant’s request for the production of any statements

 relating to the proffers made by co-defendants is DENIED.

        ENTERED this 14th day of February, 2017.

                                                               /s/ Andrew P. Rodovich
                                                               United States Magistrate Judge




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